                                           UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF OREGON

In re                                               )              19-32915-pcm7
                                                        Case No. __________________
                                                    )
Thomas Everett Black dba T E Black                  )   NOTICE OF HEARING ON MOTION
Consulting                                          )   FOR RELIEF FROM DEBTOR’S
                                                    )   AUTOMATIC STAY IN A CHAPTER
                                                    )   7/13 CASE, AND/OR CODEBTOR’S
Debtor(s)                                           )   STAY IN A CHAPTER 13 CASE

                                                  Rodolfo A. Camacho, Trustee
The attached Response, filed for the respondent, _____________________________________________________,            who is
                            Chapter 7 Trustee
the (debtor, trustee, etc.) _______________________________,   is in response to the Motion for Relief from Stay filed on
                           Specialized Loan Servicing, LLC
behalf of (m oving party) ______________________________________________________________________________.

The nam e and service address of the respondent's attorney (or respondent, if no attorney) are: ______________________
 Rodolfo A. Camacho, Trustee, PO Box 13897, Salem, Oregon 97301
__________________________________________________________________________________________________.


(If debtor is respondent) The debtor’s address and Taxpayer ID#(s) (last 4 digits) are: ______________________________
__________________________________________________________________________________________________.

NOTICE IS GIVEN THAT:

A Telephone Hearing on the Motion, at which no testim ony will be taken, will be held as follows:

     Date:                09/17/19
     Time:                1:30 pm

     Call In Number:      (888) 684-8852
     Access Code:         3702597

[Note: If you have problem s connecting, call the court at (503) 326-1500 or (541) 431-4000.]

                                          TELEPHONE HEARING REQUIREM ENTS

1.   You m ust call in and connect to the telephone hearing line or personally appear in the judge’s courtroom no later than your
     scheduled hearing tim e. The court will not call you.

2.   You m ay be asked to call again from another phone if your connection is weak or creates static or disruptive noise.

3.   Please m ute your phone when you are not speaking. If you do not have a m ute function on your phone, press *6 to m ute
     and *6 again to unm ute if you need to speak. Do not put the court on hold if it will result in m usic or other noise. If
     available, set the phone to "Do Not Disturb" so it will not ring during the hearing.

4.   W hen it is tim e for you to speak, take your phone off the “speaker” option or headset to m inim ize background noise and
     im prove sound quality. Position the telephone to m inim ize paper rustling. Do not use a keyboard or talk with others in the
     room . Be aware that telephone hearings m ay be am plified throughout the courtroom .

5.   Do not announce your presence until the court calls your case. Sim ply stay on the line, even if there is only silence, until
     the judge starts the hearings, and then continue to listen quietly until your case is called.

6.   W henever speaking, first identify yourself.

7.   Be on tim e. The judge m ay handle late calls the sam e as a late appearance in the courtroom .
                                                                          ____________________________________________
                                                                          /s/ Kirk W. Knutson
                                                                          Signature

I certify that: (1) the response was prepared using a copy of the ORIGINAL Motion; (2) if the Response was electronically filed,
the response was prepared using the “FILLABLE” PDF version of the Motion unless the Motion was filed on paper and it could
                                                                             09/10/19 copies of this Notice and the Response
not be otherwise electronically obtained from the m ovant; and (3) that on __________
were served on the m oving party's attorney (or m oving party, if no attorney) at the address shown in the Notice of Motion.
                                                              _______________________________________________________
                                                               /s/ Kirk W. Knutson
721 (6/1/13)                                                  Signature & Relation to Respondent

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                                           UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF OREGON

   In re                                       ) Case No. 19-32915-pcm7
    Thomas Everett Black dba T E Black         )
    Consulting
                                               ) (Check all applicable boxes)
                                               )     Ch. 7/13 Motion for Relief from
                                               )         Debtor     Chapter 13 Codebtor Stay
                                               )     Filed by Creditor:
                                               )     Specialized Loan Servicing, LLC***
                                               )     Response to Stay Motion filed by Respondent:
   Debtor(s)                                   )      Rodolfo A. Camacho, Chp. 7 Trustee

   1. Debt, Default, Other Encumbrances, Description and Value of Collateral (To be completed by creditor)

       a. Description of collateral (car model, year, VIN, property address):
           870 NW Garibaldi Street, Hillsborough, OR 97124



       b. Amount of debt: $ 419,546.62            consisting of principal: $ 189,757.12 ; interest: $     158,617.29   ;
          other:
           escrow advance $63,025.84; attorneys' fees and costs $10,130.91; less suspense $1,984.54



       c. Description, amount and priority of other encumbrances on collateral. If not known, include applicable
          information from debtor’s schedules if available on PACER:
           IRS-$27,000.00; LVNV Funding LLC-$1,500.00; ODR-$3,639.00; U.S. Bank NA-$25,000.00


           Total debt secured by collateral (total 1.b. + 1.c.): $   476,685.62      .

       d. Value of collateral: $     475,000.00     .
          Equity in collateral: $       0.00         , after deducting $     38,000.00      liquidation costs.

       e. Current monthly payment: $          1,970.48      .

       f. If Chapter 13:

           (1) $               postpetition default consisting of (e.g., $                 payments, $
               late charges, $             fees):


           (2) $                    prepetition default consisting of      amounts specified in proof of claim, or,
                   consisting of:


       g. If Chapter 7, total amount of default $ 265,325.95 .
***as servicer for Wells Fargo Bank, N.A., as Trustee for Park Place Securities,
Inc., Asset-Backed Pass-Through Certificates, Series 2004-MCW1, Class A-1
    720.80 (12/1/2018)
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RESPONSE (Identify specific items disputed and specify what you contend are the pertinent facts including why
there is a postpetition default, if applicable) (to be completed by respondent):

 Trustee believes that an acceptable short sale is able to be accomplished.




2. Relief from stay should be granted because (check all that apply): (To be completed by creditor)
        Lack of adequate protection because of failure to make sufficient adequate protection payments and
        lack of a sufficient equity cushion.
        Lack of insurance on collateral.
         No equity in the collateral and the property is not necessary for an effective reorganization.
         Failure of debtor to make Chapter 13 plan payments to the trustee.
         Failure of debtor to make direct payments to secured creditor required by Chapter 13 plan.
         Other (describe):




RESPONSE (Specify why relief from stay should be denied. If respondent proposes to cure a postpetition
default, detail the cure by attaching a proposed order using Local Form (LBF) 720.90 available at
https://www.orb.uscourts.gov under Forms/Local Forms) (to be completed by respondent):

Trustee believes that an acceptable short sale is able to be accomplished.


3. Background (To be completed by creditor)

   a. Date petition filed: 08/08/2019 Current Chapter: 7 (7 or 13)
      If 13, current plan date                Confirmed:        Yes No
      If 13, treatment of creditor’s prepetition claim(s) in plan:




      If 7, debtor    has       has not stated on Local Form (LBF) 521 or 521.05 that debtor intends to
      surrender the collateral.

   b. Creditor has a lien on the collateral by virtue of (check all applicable sections and also see paragraph 6
        below):
        Security agreement, trust deed or land sale contract dated 07/24/2004 , and, if applicable, an
        assignment of said interest to creditor. The security interest was perfected as required by applicable
        law on 08/02/2004 .


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         Retail installment contract dated               , and, if applicable, an assignment of said interest to
         creditor. The security interest was perfected on the certificate of title on                 .
         Other (describe):




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):


Trustee believes that an acceptable short sale is able to be accomplished.



4. Request for Relief from Codebtor Stay (Chapter 13 only)
   a.                             , whose address is
                                 , is a codebtor on the obligation described above, but is not a debtor in this
      bankruptcy.

   b. Creditor should be granted relief from the codebtor stay because (check all applicable boxes):
           codebtor received the consideration for the claim held by creditor,          debtor’s plan does not
      propose to pay creditor’s claim in full,           creditor’s interest would be irreparably harmed by
      continuation of the codebtor stay as a result of the default(s) described above and/or      because:




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




5. Other Pertinent Information (To be completed by creditor, if applicable):
N/A




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):

 N/A




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6. Relief Requested (check all applicable sections): (To be completed by creditor)

      Creditor requests relief from the automatic stay to allow it to foreclose its lien on the above identified
      collateral, and, if necessary, to take appropriate action to obtain possession of the collateral.

      Creditor has a security interest in real property and requests relief from stay with respect to an act against
      such property and that the relief be binding in any other bankruptcy case purporting to affect such real
      property filed not later than 2 years after the date of the entry of an order granting this motion. (If you
      check this box, you must complete paragraph 5 above to support this request. If you do not do so, the
      Court will not grant relief binding in any other bankruptcy case.)

      Creditor requests that the 14-day stay provided by FRBP 4001(a)(3) be waived based on the following
      cause:




      Other (describe and explain cause):




RESPONSE (Identify any disputed items and specify the pertinent facts. If respondent agrees to some relief, attach
a proposed order using Local Bankruptcy Form (LBF) 720.90 available at https://www.orb.uscourts.gov under
Forms/Local Forms) (to be completed by respondent):


Trustee believes that an acceptable short sale is able to be accomplished.




7. Documents:

   If creditor claims to be secured in paragraph 3.b. above creditor has attached to and filed with this
   motion a copy of the documents creating and perfecting the security interest, if not previously attached to
   a proof of claim.

   If this case is a Chapter 13 case and the collateral as to which creditor seeks stay relief is real property,
   creditor has attached to and filed with this motion a postpetition payment history current to a date not more
   than 30 days before this motion is filed, showing for each payment the amount due, the date the payment
   was received, the amount of the payment, and how creditor applied the payment.

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RESPONDENT requests creditor provide Respondent with the following document(s), if any marked, which are
pertinent to this response:
      Postpetition payment history if not required above.
      Documents establishing that creditor owns the debt described in paragraph 1 or is otherwise a proper
      party to bring this motion.
      Other document(s) (specific description):
Projected payoff as of November 15, 2019




Creditor/Attorney                                            Respondent Debtor/Attorney (by signing, the
                                                             respondent also certifies that [s]he has not altered
                                                             the information completed by creditor)

Signature: /s/Darren J. Devlin                               Signature: /s/ Kirk W. Knutson
Name: Darren J. Devlin, Esq.                                 Name: Kirk W. Knutson
Address: 5677 Oberlin Drive, Suite 210                       Address: PO Box 13897
San Diego, CA 92121                                                 Salem, Oregon 97301
Email Address: jt@nationwidereconveyance.co                  Email Address: lawknut@comcast.net
Phone No: 844-252-6972                                       Phone No: (503) 244-4810
OSB#:                   971211                               OSB#:                  033578


                                                             Respondent Codebtor/Attorney (by signing,
                                                             the respondent also certifies that [s]he has not
                                                             altered the information completed by creditor)

                                                             Signature:
                                                             Name:
                                                             Address:

                                                             Email Address:
                                                             Phone No:
                                                             OSB#:



You are hereby notified that the creditor is attempting to collect a debt and any information obtained will be
used for that purpose.


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 1                                    CERTIFICATE OF SERVICE
 2           I am employed in the county of San Diego, California. My business address is 5677

 3   Oberlin Drive, Suite 210, San Diego, CA 92121. I am over the age of eighteen years and not a

 4   party to this action.

 5           On August 27, 2019, I served the Notice of Motion for Relief from Automatic Stay and

 6   Motion for Relief from Automatic Stay on the interested parties in this action by placing a true

 7   and correct copy thereof enclosed in a sealed envelope with postage thereon fully prepaid in the
     United States mail at Encinitas, CA, as follows:
 8
     (X)     (BY REGULAR MAIL) I caused such envelope(s) with postage thereon fully prepaid to
 9
     be placed in the United States mail at Encinitas, CA. I am “readily familiar” with this firm’s
10
     practice of collection and processing of correspondence for mailing. It is deposited in the U.S.
11
     Postal Service on that same day in the ordinary course of business. I am aware that on motion of
12
     the party served, service is presumed invalid if the cancellation date or the postage meter date is
13
     more than 1 day after date of deposit for mailing affidavit.
14
     (X)     (FEDERAL) I declare under penalty of perjury under the laws of the United States of
15
     America that the above is true and correct.
16
             Executed on August 27, 2019, at Encinitas, CA.
17
                                                           /s/ Darren J. Devlin__
18                                                         Darren J. Devlin, Esq.

19   Thomas Everett Black, P.O. Box 4285, Hillsboro, OR 97123-1957
20
     George Hoselton, P.O. Box 370, Gladstone, OR 97027
21
     IRS, Centralized Insolvency Operations, P.O. Box 7346, Philadelphia, PA 19101-7346
22
     LVNV Funding LLC, Corporation Service, Company R Agt, 2908 Poston Ave., Nashville, TN
23   37203-1312
24
     ODR Bkcy, 955 Center St. NE, Salem, OR 97301-2555
25
     US Bank NA Trustee, Jan Estep President, 425 Walnut Street, Cincinnati, OH 45202-3956
26
     Rodolfo A. Camacho, via ecf only
27
28   U.S. Trustee, via ecf only
                                                 1
                                       CERTIFICATE OF SERVICE

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